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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 TGL, LTD.,

                              Plaintiff,
                                                        No. 24-cv-01665
                         v.
                                                        Hon. Judge Sara L. Ellis
 THE PARTNERSHIPS AND
                                                        Hon. Mag. Judge Keri L. Holleb Hotaling
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A”,

                              Defendants.

             PLAINTIFF’S NOTICE OF DISMISSAL OF CERTAIN DEFENDANTS

        Plaintiff The Good Life Ltd., pursuant to Rule 41(a)(1) of the Federal Rules of Civil

Procedure, hereby dismisses all causes of action against the defendant(s) listed on Exhibit 1 to

this Notice (collectively, “Settling Defendant(s)”), with prejudice. Plaintiff is dismissing Settling

Defendant(s) because it has reached a full settlement with them, the terms of which have been

satisfied.

        Settling Defendant(s) have filed neither an answer to the complaint nor a motion for

summary judgment as to these claims. Dismissal under Rule 41(a)(1) is therefore appropriate.

 Dated: April 18, 2024                               Respectfully submitted,

                                                     The Good Life Ltd.

                                                     By: /s/ James E. Judge

                                                     Zareefa B. Flener (IL Bar No. 6281397)
                                                     James E. Judge (IL Bar No. 6243206)
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